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                                           6                              IN THE UNITED STATES DISTRICT COURT
                                           7
                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                           8
                                           9
                                          10   MICHAEL SCHURIG,
For the Northern District of California




                                          11                 Plaintiff,                                        No. C 16-05701 WHA
    United States District Court




                                          12     v.
                                          13   EXPERIAN INFORMATION                                            JUDGMENT
                                               SOLUTIONS, INC.; EQUIFAX, INC.,
                                          14
                                          15                 Defendants.
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                                          17          For the reasons stated in the accompanying order dismissing this action, FINAL

                                          18   JUDGMENT IS HEREBY ENTERED in favor of Experian Information Solutions, Inc., and Equifax,

                                          19   Inc., and against Michael Schurig. The Clerk SHALL CLOSE THE FILE.

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                                          21          IT IS SO ORDERED.

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                                          23   Dated: April 13, 2017.
                                                                                                   WILLIAM ALSUP
                                          24                                                       UNITED STATES DISTRICT JUDGE
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